Case: 1:17-md-02804-DAP Doc #: 2373-11 Filed: 08/14/19 1 of 2. PageID #: 387860




                EXHIBIT 36
                                                                                     Page 1of1
           Case: 1:17-md-02804-DAP Doc #: 2373-11 Filed: 08/14/19 2 of 2. PageID #: 387861



       Hammond, Tawney

        From:         Forst, Christopher
        Sent:        Tuesday, May 04, 2010 1 :56 PM
        Cc:          Mone, Michael; McArtor, Roger; Emma, Douglas; Mo rse, Steve; GMB-QRA-Anti-Diversion ; Swedyk,
                     Maranda
        Subject: RE: order of interest DEA# BW8445466 -Decision

     This appears to be an order entry error. This customer usually orders no more than 300 total units/month from this
     drug family. Thanks.

     Chris



     Christopher .T. Forst. BSPha, MPA, FAPhA
     Director, Supply Chain Integrity and Regulatory Operations



     From: Hammond, Tawney
     Sent: Tuesday, May 04, 2010 11:35 AM
     To: Forst, Christopher; Swedyk, Maranda
     Cc: Mone, Michael; McArtor, Roger; Emma, Douglas; Morse, Steve
     Subject: FW: order of interest DEA# BW8445466




     From: Brantley, Eric
     Sent: Tuesday, May 04, 2010 11:10 AM
     To: GM B-QRA-Anti -Diversion
     Subject: order of interest DEA# BW8445466

     Walgreens account# 551244. Order# 9629656. Ordered 13 bottles of Oxycodone HCL 15mg # 3534443.
     shipped O

     Eric Brantley
     QRA Compliance Officer
     Cardinal Health
     HSCS-P Atlanta, GA
     Phone 678-583-2538
     FAX 6H-652-·1628




     5/5/2010
CONFIDENTIAL                                                                                        CAH_MDL2804_00586715
